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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

KELLY GRACE,                                   )
                                               )
                          Plaintiff,           )
                                               ) CASE NO.: 4:21-cv-00032
       v.                                      )
                                               )
PAUL SKIFF and SUPREME AUTO                    )
TRANSPORT, INC.,                               )
                                               )
                          Defendants.          )

                                        NOTICE OF REMOVAL

       TO THE HONORABLE JUDGES AND CLERK OF THE UNITED STATES
       DISTRICT COURT FOR THE SOUTHERN DISTRICT OF INDIANA.

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1332, 1441, and 1446, removing

parties Paul Skiff and Supreme Auto Transport, Inc., by counsel, hereby file this Notice of

Removal to remove the above-entitled action to this Court based upon the following supporting

grounds. Removing parties Paul Skiff and Supreme Auto Transport, Inc. appearing solely for the

purpose of this removal, and for no other purpose, and preserving all other defenses available to

them, state as follows:

                                             VENUE

       1.      Removal to the Southern District of Indiana, New Albany Division, is appropriate

pursuant to 28 U.S.C. § 1441(a), because the Southern District of Indiana, New Albany Division,

embraces the County of Lawrence, where the action was pending prior to the filing of this Notice

of Removal.
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                                         REMOVAL IS TIMELY

         2.        On February 5, 2021 removing party Skiff was served by certified mail with a

Summons and Complaint in the above-entitled action at his home. Therefore, removal is timely

under 28 U.S.C. § 1446(b)(1).

                                     STATE COURT PROCEEDINGS

         3.        On January 29, 2021, Plaintiff Kelly Grace (hereinafter “Plaintiff”) filed her

Complaint in the above-entitled action against Defendants in the Lawrence County Circuit Court

in the State of Indiana, Cause No. 47C01-2101-CT-000106, and is now pending therein.

         4.        On January 29, 2021 counsel for Plaintiff filed an Appearance and issued

Summonses for the Defendants.

         5.        On or about February 11, 2021, Plaintiff filed a Return of Service for Paul Skiff.

         6.        No further proceedings have been had in the Lawrence County Circuit Court.

         7.        Pursuant to S.D. Ind. L.R. 81-2(d), Defendants assert that there are no state court

motions that remain pending at the time of this Notice of Removal.

                                DIVERSITY JURISDICTION EXISTS

         8.        This is a civil action that falls within the Court’s original jurisdiction under 28

U.S.C. § 1332 and is one that may be removed to this Court based on diversity of citizenship

under 28 U.S.C. §§ 1441 and 1446.

         9.        Plaintiff is a citizen of the State of Indiana.

         10.       Defendant Skiff is a citizen of the State of Michigan.

         11.       A corporation is a citizen of the state in which it is incorporate and in which it

maintains its principal place of business. 28 U.S.C. § 1332(c).




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         12.       Defendant Supreme Auto Transport, Inc. was and is an Oklahoma corporation

with its principal place of business in Longmont, Colorado. Therefore, for diversity purposes,

Supreme Auto Transport, Inc. is a citizen of the States of Oklahoma and Colorado.

         13.       There is complete diversity of citizenship between the parties named in this case.

         14.       Plaintiff’s Complaint does not demand a specific sum of monetary damages. The

State of Indiana does not permit a demand for a specific sum. Therefore, this Notice of Removal

states that the monetary value of the amount in controversy exceeds $75,000, exclusive of

interest and costs, based upon the following:

               a. Plaintiff contends she sustained permanent physical injuries, medical expenses,

                   lost wages, and other damages as a result of the incident forming the basis of her

                   Complaint.

               b. On February 10, 2021, Plaintiff’s counsel conveyed Plaintiff’s position that the

                   case’s value will exceed that amount if the parties are to continue litigation.

         15.       Based upon the injuries and damages alleged, Plaintiff seeks recovery in excess of

$75,000 exclusive of interest and costs, the value to Plaintiff of the relief sought in the Complaint

exceeds $75,000 exclusive of interest and costs, and/or the amount in controversy exceeds

$75,000 exclusive of interest and costs.

         16.       Therefore, this state court action is properly removed to this Court in accordance

with 28 U.S.C. §§ 1441 and 1446 because: (1) this action is a civil action pending within the

jurisdiction of the United States District Court for the Southern District of Indiana, New Albany

Division; (2) this action is between citizens of different States; (3) the amount in controversy

exceeds $75,000 exclusive of interest and costs.




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                                 STATUTORY REQUIREMENTS

         17.       Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81-2, a copy of the entire state

court file is attached as an Exhibit and includes the State Court Record as of the date of this

Notice of Removal, including the following: Complaint for Damages; Appearance of Bradford J.

Smith for Plaintiff; Summons to Paul Skiff; Summons to Supreme Auto Transport, Inc.; Return

of Service for Paul Skiff.

         18.       Pursuant to S.D. Ind. L.R. 81-2(c), a copy of the operative Complaint is also

attached hereto as a separate Exhibit to this Notice of Removal.

         19.       A copy of this Notice of Removal has been filed in the Lawrence County Circuit

Court and Plaintiff has been served with both this Notice of Removal and the Notice of Filing

Notice of Removal.

         WHEREFORE, removing parties Paul Skiff and Supreme Auto Transport, Inc., by

counsel, respectfully request that the above-entitled action be removed from the Lawrence

County Circuit Court to the United States District Court for the Southern District of Indiana,

New Albany Division.


                                               LEWIS WAGNER, LLP



                                        By:    s/Lynsey F. David
                                               LESLEY A. PFLEGING, #26857-49A
                                               LYNSEY F. DAVID, #32594-49
                                               Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2021, a copy of the foregoing Notice of Removal
was filed electronically. Service of this filing will be made on all ECF-registered counsel by
operation of the court's electronic filing system. Parties may access this filing through the court's
system.

 Bradford J. Smith
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 Counsel for Plaintiff



                                              s/ Lynsey F. David
                                              LYNSEY F. DAVID

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